            Case 5:21-cv-01428-NC Document 20 Filed 11/08/21 Page 1 of 1




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 5                                  UNITED STATES DISTRICT COURT

 6                                 NORTHERN DISTRICT OF CALIFORNIA

 7                                                      Case No. 5:21-cv-01428-NC
     RICHARD JOHNSON,
 8
                    Plaintiff,                          ORDER GRANTING JOINT
 9                                                      STIPULATION FOR DISMISSAL
            v.
10
     DAN CARLINO HOLDINGS, LLC,
11   et al.,
12                  Defendants.
13

14          The Court hereby vacates all currently set dates and dismisses this matter with
15   prejudice, in its entirety.
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16          IT IS SO ORDERED.                                        TES D      TC
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     Dated: November 8, 2021
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                                                NATHANEAL B. COUSINS
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                                                United States Magistrate Judge
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                                                                                      M. Cousin
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                                         ORDER – 5:21-cv-01428-NC
